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                          UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA


  IN RE BANC OF CALIFORNIA                       Case No. 0:18-mc-00076-WMW-KMM
  SECURITIES LITIGATION,

                                                LOCAL RULE 7.1 WORD COUNT
                                                COMPLIANCE CERTIFICATE


        I, Aaron G. Thomas, certify that Castalian Partners Value Fund LP and James

  Gibson’s Memorandum of Law in Opposition to Steven Sugarman’s Motion to Compel

  complies with the length limitation imposed by Local Rule 7.1(f) and the type size

  limitation imposed by Local Rule 7.1(h). The Memorandum of Law has been prepared in

  size 13 font using Microsoft Word 2010, and it consists of 7,726 words.

        I relied on the word count tool in Microsoft Word 2010, applied specifically to

  include all text, including headings, footnotes and quotations, to determine the number of

  words contained in the Memorandum of Law.
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  Dated: October 12, 2018                  BRIGGS AND MORGAN, P.A.


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